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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 JOHN-PATRICK M.. FRITZ (SBN 245240)
 LEVENE, NEALE, BENDER,                                                                                  FILED & ENTERED
 YOO & GOLUBCHIK L.L.P.
 2818 La Cienega Avenue                                                                                          MAY 13 2022
 Los Angeles, California 90034
 Telephone: (310) 229-1234                                                                                 CLERK U.S. BANKRUPTCY COURT
 Facsimile: (310) 229-1244                                                                                 Central District of California
                                                                                                           BY evangeli DEPUTY CLERK
 Email: JPF@LNBYG.COM



     Individual appearing without attorney
     Attorney for: Debtor Escada America LLC

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA –LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 11
                                                                             CHAPTER: 2:22-bk-10266-BB

 ESCADA AMERICA LLC                                                          ORDER:
                                                                                    GRANTING APPLICATION AND SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                                                                    DENYING APPLICATION FOR ORDER
                                                                                    SETTING HEARING ON SHORTENED
                                                                                    NOTICE
                                                                                             [LBR 9075-1(b)]
                                                              Debtor(s).

 Movant (name): ESCADA AMERICA LLC



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: Disclosure Statement Describing Debtor’s Chapter 11 Plan, Dated May 12, 2022

    b. Date of filing of motion: May 12, 2022

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application:

3. Based upon the court’s review of the application, it is ordered that:

    a.        The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.        The Application is granted, and it is further ordered that:


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        (1)         A hearing on the motion will take place as follows:


                Hearing date: 6/22/2022                     Place:
                Time: 2:00 p.m.                                 255 East Temple Street, Los Angeles, CA 90012
                                                                21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom: 1539
                                                                3420 Twelfth Street, Riverside, CA 92501
                                                                411 West Fourth Street, Santa Ana, CA 92701
                                                                1415 State Street, Santa Barbara, CA 93101

        (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                    persons/entities listed:

                (A) Deadlines:                         (B) Persons/entities to be provided with telephonic notice:
                Date:

                Time:

                                                                See attached page
                                                       (C) Telephonic notice is also required upon the United States trustee


        (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                    served upon all persons/entities listed using:       one of the methods checked         all of the
                    methods checked

              (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written notice and a copy of this
                                                           order:
                Date: 5/13/2022

                Time: 6:00 p.m. PT                         All creditors and parties requesting special notice



                                                                See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)




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        (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                  must be served on all persons/entities listed using:        one of the methods checked       all of the
                  methods checked
              (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                    Date: 5/13/2022                        documents:
                                                        Pursuant to FRBP 3017(a):
                    Time: 6:00 p.m.                     NEF recipients
                                                        Official Committee of Unsecured Creditors (if and when formed)
                                                        Securities Exchange Commission

                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (no electronic service permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked           all of the methods
                    checked
              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date: 6/10/2022                        -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                    Time: 5:00 p.m. PT




                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*




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                (B) Deadlines:                         (C) Persons/entities to be served with written reply to opposition:
                 Date: 6/15/2022                           -- All persons/entities who filed a written opposition

                 Time: 11:59 p.m. PT



                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s Copy personally delivered to chambers
                                                              (see Court Manual for address)


        (7)       Other requirements:




        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                        at least 2 days before the hearing.

                        no later than:          Date: June 15, 2022                Time: 5:00 p.m.



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: May 13, 2022




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